 

A MURUTEM ere een Calta ute tec ctss
Beblor1 Craig Scott. Gulwonh

 

| Debtor2 Brianna Lasheil Dutwerth
(Spaure, Ying).

United States Bankruptcy Court for the: Southern District of indiana isis)
Case number: 1B-07856

 

‘Official Form 427 .
. Cover Sheet for Reaffirmation Agreement 42/46

Anyone who Is a party to a reaffirmation agreement may fill gut and file thie form. Filtit out complataly, attath It-to the reaffirmation agreement,
and file the documents. within the time set under Bankruptcy Rule 4008,

Cee. Explain the Repayment Terms of the Reaffinnation Agreement

1. Whos the etedifor?. Ally Bank
‘Name of the creditor

 

 

2, How much Is the debt? ‘On the date that the ‘bankruptcy case je. filed $29,829.88
To bé paid under thé reaffimation agfeament-$24,072'34

$409.90 per month for-Z4 months (if fixed Interest raie)
2 monihiy cure payments-pf $214.95 aach staring on November 25, 2078.

 

3, What fs the Annual na-bankriptey:
Percentage Rate {APR} Before the, bank pley casa was Med 15.74%
of literest? (See. Under the reaffirmation agreement 15.74% EI Fixed
Bankruptcy Code. - ete.
§-B24(K)(SHE}-) [cl Adjustable Rat

 

4, Does collateraF secure
the dept?

Ne

i !
Ei Yes. Describe the collateral, 2010 KIA SORENTO VIN: SXYPGdA38 G01 44net
Gumentinarket value $46,450.00.

 

5. Does the craditor assert = f¥] No

     

that tha dabt Is
nendlechargable? Ci Yes. Attach an Vexplanation of lhe nature. of thé debt-and the basis far ‘contending | that, the debt iz nondischargabla.
5. UsIng Information from ee “ wen : “et = : ie ae Sen, See ak!
Schedule}: Your ineoiria icons expats s+ w reste Toe neg Stati tigen as ea si oh a : vastly PER!
(Official Form 106} and , ; }
Sefradule J: Your a, Combined monthly:ncome from $ le y 6e. Monthly income from all sources + 4 04. = yf
Expenses (Ofitclal Farm Ine 12 of Schedula.t. afler payroll deductions:
106), MLIn the amounts. $e. 0 p ti
” 6b. Monthly enensefrom line 22cof - 4, 08. B Bf, Monthly expenses. -% Yo 80,90
‘Scheduled .
6c, Monthly paymenis.cnel g ag. Monthly. payments on ell
reaffirmed debts not Usted on - & : reaffirmed debts not induded tf, -&
Scheduled -afler payroll deductions | ‘
- Sd. Scheduled netmonthly income = S 7 4 ‘Bh, Present sist. monthly income 5 d ‘0 x $ i
Subtract ines 6b ahd’ Sc from 5a. Subtract lines 6f and 6g fram ée.
if the total Is less than 0; put the ifthe total is less than.0, pubthe

 

 

number in brackets. nuinberIn brackets,

 

Official Fon 427 -Gpver Shoot for Reaffinnation Agreement Page 1

 

 
 

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Debtor 1
First Name

Craig Scott Dulworth
Hidde Name

Case Number (it known) 18-07856
Last Name

 

7. Are the Income amounts
on the lines 6a and 6e
different?

ka” No

1 Yes. Explain why they are difforent and complete line 10.

 

 

 

8. Are the expense
amounts on line 6b
and 6f different?

 

No
Pe Yes,

Explain why they are different and complete line 10. poy went less aan
Gineduled «

 

 

&. Is the net monthly
income In line 6h less
than 07

No
[1 Yes. Apresumpiion of hardship arises (unfess creditor is a credit union}.

Explain how the debtor will make monthly payments on the reaffirmed debt and pay other (ving expeses.
Camplete line 10,

 

 

 

10. Debtor's certification
about lines 7-9

lf any answer on line 7-9 is
Yes, the debtor must sign
here.

| eertify that each explanation on lines 7-9 Is true and correct.

 

 

If all the answers on lines 7-9 Signa Debtor 1
are No, go fe line 11.
11. Did an attorney represent O No
the debtor in negotiating [ Yes. Has the attorney executed a declaration or an affidavil to support the reaffirmation agreement?
the reaffirmation
agreement? E] No
" Yes

 

LEE Sion tore

 

 

 

 

 

Whoever fills out this form | certify that the attached agreement Is a true and correct copy of the reaffirmation agreement between the
must sign here, parties Identified on th ver Sheet for Reaffirmation Agreement.
vote ff | 16 faore

Sign wmrcobyryy *

Printed Name f

Check one: é

Debtor or Debtors Atlomey =

(1 Creditor or Creditor's Atiormey

Official Form 427

Cover Sheat for Reaffirmation Agreement Page 2

 
 

B2a4god (Form 24004) (12/13)

 

‘{Cheok-one, ,
0 Presumption of Undue Hardship
No Presumption of Undue Hardship
See Debtor's Statement in Support of
Reaffirmation; Part JI below, to determine
which box to check

 

 

 

UNITED STATES BANKRUPTCY COURT
Southern District of Indiana

Inre

 

Case No, 18-07856

Debtor(s)

Chapter 7
REAFFIRMATION DOCUMENTS.

Wame.of Creditor: Ally Bank

[) Cheelc this box if Creditor-is a Credit Union

J. REATFIRMATION AGREEMENT’

Reaffirming a debt is 2 serious financial decision, Before entering inte this Reaffirmation
. Agreement,-you must review the important disclosures, instructions, and definitions found
‘in. Part V of this Reaffirmation Documents packet.

1. Brief description of the original agreement being reaffirmed: Auto — Contract

For example, auto loan
2. AMOUNT REAFFIRMED: $24,022.34

The Amount Reaffirmedis the entire amount that you are agreeing to pay. This
may include unpaid principal, interest, and fees and costs (if any) arising on or-
before the date you sign this Reaffirmation Agreement.

See the definition of “Amount Reaffirmed” in Part ViCbelow.. .

“3, The ANNUAL PERCENTAGE RATE applicable to the Amount Reaffirmed is.15,74%.
See definition of “Annual Percentage Rate” in Part VC helow.
This is.a (check one) © Fixed rate © Vaviable rate

If the loan has a variable rate, the future interest rate may increase or decrease from the Annual
Percentage Rate disclosed here.

Craig Scott Dulsworth and Brianna Lashell Dulworth 18-07856

 

 
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B2400A (Farm 2400A) (12/15) Page 2

4, Reaffirmation Agreement Repayment Terrms:
& 74 regular monthly payments-of $499.90 starting on November 25, 2018,

{2 Describe repayment terms, including whether fature-payment-amount(s) may be different
from the initial payment amount. J addition fo the regular payments above, the existing
payment defaulis shall be cured as faliows:

2 moithly cure payments of $214.95 starting on November 25, 2018,
5. Describe the collateral, ifany, securing the debt:

Description: 2016 BIA SORENTO VIN: SXYEGUAARGGOL AAR
Current Market Vahue;

6. Did the debt that is being reaffirmed arise from the von the puchoeot the collateral described

above?
Yes O11 ‘No

If yes, what was the purchase price for the collateral? _§23,617,66
If no, what was the amount of the otiginal loan? $

7. Detail the changes made by this Reaffirmation Agreement to the most recent credit terms on
the reaffistiied debt and any related agreement:

Terms as of the Terms After
Date of Bankruptcy Reéeaffirmation
Balance due (including a
fees and costs) $23,829,285 824,022.54
Annual Percentage Rate 15.74% ‘15.74%
Monthly Payment 5499.90, $499,90 *

* Under the parties’ current agreement, any existing payment defaults are immediately due and payable.
However, pursiiant to. this reaffirmation agreement, Creditor iy allowing the Debtor(s) to cure said defaulis
over time. {see Repayment Terms above}.

8 Check this hox if the creditor is agreeing to provide you with additional future credit in
corinection with this Reaffirmation. Agreement. Describe the ciedit limit, the Annual
Percentage Rate-that applies to future credit and any other terms on future. purchases and
advances using such credit:

 

 

I. DEBTOR'S STATEMENT IN SUPPORT
OF REAFFIRMATION AGREEMENT

\. Werte you represented by an attorney during the course of negotiating ‘this agreement?
Check one. Yes LE] No

2. Is the creditor a credit union?
Check one. O Yes = No

Craig Seolt Dulworth and Brianna Lashell Dulworlli 18-07856

 
 

BIAUDA (Porm 24064) (12/15) Paga 3

3, If yout answer to EITHER question 1. of 2. above is “No” complete a. and.b. below..

a. My present monthly income and expenses are;

i. Monthly income from all sources after payroll deductions $ 4. ofl. HY
(take-home pay plus any other income}

ii, Monthly expenses (including all reaffirmed debts except ga Sai. oe
this one)

iii, Arnount available to pay this reaffirmed debt (subtract ii. from i.) g F104 —

iv, Arnount of monthly payment required for this reaffitmed debt -  § 4 4 4 0

If the. monthly payment on this reaffirmed debt (line iv) is greater than the. amount you have
available to pay this reaffirmed debt (line iit, ‘), vou must. check the box at the top- of page one that
says “Presumption af Undue Hardship.” Otherwise, yor inust check the box at the fop of page.
one that says-“No Presumption af Undue Hardship.”

b, I beliéve that this reaffirmation agreement will not impose an undue hardship on.my
dependents or on me because:

Check one of the two statements below, ifapplicable:

ma” T:can afford fo make the payments on the reaffirmed debt because my monthly’
income is greater then my monthly expenses ever after T include in my expenses
the monthly payments on all debts I am reaffirming, including this one.

OO Jean-afford to: make the payments on the reaffirmed debt even though my monthly
income is less than my monthly:expenses after I include in my expenses the: monthly
payments on all debts I atm reaffirming, including this one, because:.

 

Use an additional page if needed for a full explanation.

4, If my answers to BOTH questioris 1, and 2. above were. “Yes”, check the following statement,
ifapplicable:.

(1 [believe this teaffirmation agreement is in my financial interest and T can afford.to
make the paymenis on the reaffirmed debt.

Also, check the box at the top of paxe one that says “No Presumption of Undue Hardship.”

Crnig Scott Dulworth and Brianna Lashell Dulworth [8-07856

 

 

 

 
 

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B2400A (Form 2400A) (12/15} Page 4

 

I. CERTIFICATION BY DEBTOR(S) AND SIGNATURES OF PARTIES
I (We) hereby certify that:
i. I (We) agree to reaffirm the debt described above,

ji, Before signing this reaffirmation agreement, I (we) read the terms disclosed in this
Reaffirmation Agreement (Part I) and the Disclosure Statement, Instructions and
Definitions included in Part V below;

iti, The Debtor’s Statement in Support of Reaffirmation Agreement (Part II above) is
true and complete;

iv. lam (We are) entering into this agreement voluntarily and am (are) fully informed of my (our)
rights and responsibilities; and

v. I (We) have recelved a copy of this completed and signed Reaffirmation Documents packet,
SIGNATURE(S):
Date la | 4 | \¥

we_'\4|\8

If this is a joint reaffirmation agreement, both debtors must sign.

 

Joint Debtor, if any

Reaffirmation Agreement Terms Accepted by Creditor:

 

Creditor Ally Bank a ae
, - Print Name Address
f-fite ‘} Ltée Slr o£ + LoL KZ IZ//. fl 'S
Print Name of Heh. 2 Signature 7 Date

IV. CERTIFICATION BY DEBTOR'S ATTORNEY CF ANY)
To be filed only if the attorney represented the debtor during the course of negotiating this agreement.

I hereby certify that: (1) this agreement represents a fully informed and voluntary agreement by the
debtor; (2) this agreement does not impose an undue hardship on the debtor ar any dependent of the
debtor; and (3) J have fully advised the debtor of the legal effect and consequences of this agreement and
any default under this agreement.

() A presumption of undue hardship has been established with respect to this agreement. In my
opinion, however, the debtor is able to make the required payment.

Check box, ifthe presumption of undue hardship box is checked on page 1 and the creditor is not a
Credit Union.

Date: 1] [G [is Signature of Debtor's Attorney
Print Name of Debtor's Attorney Nighigfers fkuun/

 

 

 

 

Craig Scott Dulworth and Brianna Lashell Dulworth 18-07856

 
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B2400A (Forms 2400A) (12/15) Page 5.

¥, DISCLOSURE STATEMENT AND INSTRUCTIONS TO DEBTOR.

Before agreeing to reaffirm a debt, review the terms disclosed in the Reaffirmation Agreement
(Part I) and these additional important disclosures and instructions.

Reaffirming a debt is-2.serious:financial decision. The law requires-you to take certain steps. to. make
sure the decision is-in your. best interest. If these steps, detailed in Part B- below, are not: completed, the
jeaffirmation agreement is not effective, even though you have signed it:

& DISCLOSURE STATEMENT

1. What-are your obligations if you reaffirm a debi? A reaffinned debt remains your personal
Jegal obligation. Your. reaffirmed debt is not discharged in your bankruptcy case, That means thal
if you default on your reafiixmed debt afer your bankruptcy case is over, your credifor may be
‘able to take your property ar your wages; Your obligations will be deterntined. by the
reaffirmation agreement, which may have changed the terms of the original agreement. If you are
reaffirming an open end credit agreement, that agreement or applicable law may permit the.
creditor to change the terms of that agreement in the future under certain conditions,

2, Are you required to enter into a reaffirmation. agreement by any law? No, you are not
required to reaffirm a debt by any law. Only agree to reaffirm a debt if it is in your best interest.
Be sure you can afford the payments that you agree to make,

3, What if-your creditor has-a security Interest or Hen?. Your bankruptey discharge dées not
éliminate.any lien on your property, A ‘lien’? is often referred to as 2 security litetest, deed of
trust, mortgage, ar security deed, The property subject.to a lien is often referred to as collateral.
Even if you do not reaffirm and your personal lability on the debt is. discharged, your creditor
may still have a right under the lien to take the collateral if you do not pay or defauit onthe debt.
Tf the collateral is personal property that is exenipt or that the trustee has abandoned, you may be
able to redeem ‘the item rather-than reaffirm the debt: To redeem, you make a. single payinent to
the. creditor equal tothe current value of the collateral, as the parties agree or the court determines.

 

4, Howseon do you need to enter itp and file a reaffirmation agreement? If you decide to enter
into areaffirmation agreement, you must.do sc before you receive your discharge, After-you have
entered inio a reaffinriation agreement atid all parts of this Reaffirmation Documents packet:
requiring a. signature have been signed, either you or the creditor should file it'as.scon as possible,
The’ signed agreement must be filed with the court no later'than 60 days after the first date set for

‘the indeting of créditors, so that the court will have time ta schedule a hearing to approve the
agreement If approval is required.

§, Can-you cancel the agreement? You may rescind (cancel)-your reaffirmation agreement at any:
tithe before-the banktaptey court enters your discharge, or during the 60-day period that begins on
the date your ceaffirmation agreement is filed with the court, whichever occurs later, To rescind
(cancel) your reaffirmation agreement, you must notify the creditor that your reaffirmation
agreement is-tescindéd (or caticeled). Rereimber that-you can rescind the. agreement, even ifthe
court ipproves it, as long as you rescind within the time allowed.

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Craig’Seott Dulworth.and Brianna Lashell Dilworth 18-07856

 

 
 

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B2400A (Porn 24004) (12/15) ‘Page 6
6. When will this reaffirmation agreement be effective?

a, Ifyou were represented by am attorney during the negotiation of your reaffirmation
apresment

i, ifthe ereditor is not a Credit Unioxs, your reaffirmation agreement becomes effective
upon filing with the court unless the reaffirmation is presumed to be an undue hardship in
which case the agreement becomes effective only after the courbapproves it;

ii, if the creditor isa Credit Union, your reaffirmation agreement becomes effective when
itis filed with the court.

b. Ifyou weré not represented by an attorney during the negotiation of your reaffirmation
agreement, the reaffirmation agreement will not be effective. unless the court approves it, To.
have the court approve your agreement, you must file a motiod. See Instruction 5, below. The.
court will notify you and the creditor of the Hearing on your reaffirmation agreement. “You
must aitend this hearing, at which time the judge will teview your Reaffirmation Agreement.
Hf the judge decides that the reaffirmation apreement.is in your best interest, the agreement’
will be approved and will become effective. However, if your reaffirmation agreement is fofa
consumer debt secured by a mortgage, deed of trust, security deed, or other lien on your real
property, like yout home, you do not need to file.a motion or get.catirt approval of your
reaffirination agresment.. ,

7, What if you have: questions about what-a creditor can do? If you have. questions about
reaffirming a débt or what the law requires, consult with the attorney who helped you negotiate
this agreement, If you-do not-have an attorney helping you, you may. ask the judge to explain the
effect of this agreement to you at the hearing to approve the reaffirmation agreement, When this
disclosure refers.to what @ creditor“may” do, itis not giving-any créditor permission to do
anything. The word “tay” is. used to tell you what might: occur if the law perinits the creditor to.
take the action.

B.. INSTRUCTIONS:

1. Review. these Disclosures and carefully consider your decision to’ reaffirm. Ifyou want to
reaffirm, review and complete the informatton.contained in the Reaffirmation A gréement (Part |
above). if your case is a joint case, both spcuses must sign the agreement if both are reaffirming
the debt.

2, Complete the Debtor’s Statement in Support of Reaffirmation Agreement (Part If above). Be sure
i that you can afford to make the payments that you are agreeing to make and that.you have
; received.a.copy of the Disclosure Statement and a completed: and signed Reaffirmation

: Agreement.

. 3: Ifyou were represented by an attorney during the negottation of your Reaffirmation Agreement,
t your attorney must sign and date the Certification By Debtor’s Attorney section {Part IV above),
4

t 4, You.or your creditor must file with the cour the original of this Reaffirmiation. Documents packet
i and a completed Reaffirmation Agreement Cover Sheet (Official Bankruptey Form 427).

: 5. Ifyou are.not represented by an attorney, you must also complete and fle with the court a.

$ separate dacument entitled “Motion for Court Approval of Reaffirmation Agreement” unless your
reaffirmation agreement is for a.consumer debt secured by a lien on-your-real property, such as
your home, You can yse Form B2400B to do this.

Craig Soot, Dilworth and Brianna: Lesholl. Dilworth 18-07856-

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B2400A (Porm 2400A) (1215) Page 7

C, DEFINITIONS

L, “Amount Reaffirmed” means the tota! amount of debt that you are agreeing to pay _
(reaffirm) by entering into this agreement. The amount of debt includes any unpaid fees.
and costs afisingon or before the date you sign this agreement that-you are. agrecing to
pay. Your oredit agreement may obligate you to pay additional amounts that arise after
the date you sign this agreemerit, You. should consult your credit agreement to-determine.
whether you are obligated to pay additional amounts that may atise after the date-of this
agreement.

2 “Annual Percentage Rate” means the interest rate on a loan expressed under the rules
required by federal law. The annual percentage rate (as opposed to the “stated interest.
rate”) teils you the full cost of your.credit including many of the creditor’s fees and
charges, You will find the annual percentage rate for your original agreement on the
disclosure statement that was given to you. when the loan papers were signed or on the
monthly statements sent to you for.an open end credit account such as ‘a credit card.

3 “Credit Union” means a financial institution as defined in 12 U.S.C. § 461(b)CCAN(IV).

It is owned and controlled by and provides financial services to its members and.typically
uses words like *Credit Union” or initials like “CU.” or “F.C,U.” in its name. .

Craig Seott Dulwarth and Brianna Lashell Dulworth 18-07856

 

 
